Case 8:08-cr-00423-CEH-J_S Document 256 Filed 06/11/15 Page 1 of 2 PageID 702




                          OUNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO: 8:08-cr-423-T-17MAP

MELISSA WILLIS


 AMENDED Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction
           Under 18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        The defendant has filed a motion to amend the previously entered order reducing sentence

(Doc. 255). Finding the motion well taken, it is granted and the Court reenters the order reducting

sentence with corrections. Before the Court is the defendant’s motions to reduce his prison term

under 18 U.S.C. § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see

USSG §1B1.10(d) (2014). Docs. #244 and 253. The United States does not oppose a reduction.

Doc. #253. The parties stipulate that she is eligible for a reduction because Amendment 782 reduces

the guideline range applicable to her, see USSG §1B1.10(a)(1). Doc. #253. The Court agrees that

she is eligible for a reduction and adopts the amended guideline calculations in the parties’

stipulation. Doc. #253.

        Having reviewed the facts in both the original presentence investigation report and the

February 18, 2015 memorandum from the United States Probation Office in light of the factors in

18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 27 months

is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties of a

possible release date on Sunday, November 1, 2015, the effective date of this order is November 2,

2015.
Case 8:08-cr-00423-CEH-J_S Document 256 Filed 06/11/15 Page 2 of 2 PageID 703




       Thus:

       (1)     The Court grants the defendant’s motion, Docs. #253.

       (2)     The Court reduces the defendant’s prison term from 78 to 51 months or time

               served, whichever is greater.

       (3)     The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on June 2, 2015.




Copies furnished to:



Counsel of Record

Magistrate Judge

United States Marshals Service

United States Probation Office

United States Pretrial Services
